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2
                                   UNITED STATES DISTRICT COURT
3
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
4

5    UNITED STATES OF AMERICA,                               1:14-cr-00154-002-LJO
6                            Plaintiff,                      MEMORANDUM DECISION AND
                                                             ORDER RE PETITION FOR
7                      v.                                    RECALCULATION OF SENTENCE
                                                             PURSUANT TO 18 U.S.C. § 3585
8    JESUS BUCIO-MENDOZA,
                                                             (ECF No. 262)
9                            Defendant.
10

11

12          Defendant Jesus Bucio-Mendoza, a prisoner in federal custody, filed a “Petition for

13 Recalculation of Sentence Pursuant to 18 U.S.C. § 3585.” ECF No. 262. In the petition, he requests that

14 the Court recalculate and adjust his sentence to give him credit for time that he does not believe is

15 currently reflected in his Bureau of Prisons (“B.O.P.”) release date. He contends that at his sentencing

16 by this Court on January 30, 2017, he was given credit of 288 days and that the federal B.O.P. guidelines

17 deduct 54 days per year, which over the course of his 96-month sentence is an additional 432 days. He

18 contends that neither the 288 days’ nor the 432 days’ credit is reflected in his B.O.P. release date.

19          18 U.S.C. § 3585(b) provides in relevant part:

20          (b) Credit for prior custody.--A defendant shall be given credit toward the service of a
            term of imprisonment for any time he has spent in official detention prior to the date the
21          sentence commences—

22                  (1) as a result of the offense for which the sentence was imposed; or

23                  (2) as a result of any other charge for which the defendant was arrested after the
                    commission of the offense for which the sentence was imposed;
24
            that has not been credited against another sentence.
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1    18 U.S.C. § 3585(b). The authority to calculate a federal sentence and to provide credit for time served

2    has been delegated to the Attorney General through the B.O.P. United States v. Wilson, 503 U.S. 519,

3    320 (1992); see also Allen v. Crabtree, 153 F.3d 1030, 1033 (9th Cir. 1998) (“[T]he Attorney General,

4    acting through the BOP, has the statutory authority under § 3585(b) to compute a federal prisoner’s

5    sentence.”). “BOP, rather than the sentencing court, calculates the defendant’s entitlement to sentencing

6    credit under § 3585(b) in the first instance.” Zavala v. Ives, 785 F.3d 367, 370 n.3 (9th Cir. 2015)

7    (citing Wilson, 503 U.S. at 335). “A defendant may then challenge BOP’s calculation—in other words,

8    the execution of the sentence—by filing a petition for a writ of habeas corpus under 28 U.S.C. § 2241.”

9    Id. (citing United States v. Giddings, 740 F.2d 770, 772 (9th Cir. 1984))

10          Defendant’s challenge is not to the legality of the sentence imposed, which would be properly

11 brought under 28 U.S.C. § 2255, but is instead a challenge to the calculation of the sentence, which is

12 properly brought under 28 U.S.C. § 2241. “Generally, motions to contest the legality of a sentence must

13 be filed under § 2255 in the sentencing court, while petitions that challenge the manner, location, or

14 conditions of a sentence’s execution must be brought pursuant to § 2241 in the custodial court.”

15 Hernandez v. Campbell, 204 F.3d 861, 864 (9th Cir. 2000).

16          The Court notes that Defendant is housed at FCI Victorville Medium II, located in San

17 Bernardino County in the United States District Court for the Central District of California. That is the

18 custodial court, and any habeas petition brought pursuant to 18 U.S.C. § 2241 is subject to that court’s

19 jurisdiction.

20          Because this Court is without jurisdiction to entertain Defendant’s challenge to the execution of

21 his sentence, Defendant’s motion is DENIED.

22 IT IS SO ORDERED.

23      Dated:     April 16, 2018                            /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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